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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION


 JAMES AUSTIN,

                  Petitioner,

        v.                                             CV 314-025
                                                       (Formerly CR 312-003)
 UNITED STATES OF AMERICA,

                  Respondent.


                                           ORDER


        Let a copy of this Report and Recommendation be served upon counsel for the

parties. Any party who objects to this Report and Recommendation or anything in it

 must file, not later than September 5, 2014, written objections specifically identifying the

portions of the proposed findings and recommendation to which objection is made and

 the specific basis for objection. 1 The Clerk will submit this Report and Recommendation

 together with any objections to United States District Judge Dudley H. Bowen, Jr., on

 September 8, 2014. Failure to file specific objections within the specified time means

 that this Report and Recommendation may become the opinion and order of the Court,

 Devine v. Prison Health Servs., Inc., 212 F. App’x 890, 892 (11th Cir. 2006) ( per

 curiam), and may limit a party’s appellate rights. Dupree v. Warden, 715 F.3d 1295,

 1300 (11th Cir. 2013).




        1
            A copy of the objections must be served upon all other parties to the action.
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        Requests for extension of time to file objections to this Report and

 Recommendation shall be directed to Judge Bowen.

        A party may not appeal a Magistrate Judge’s recommendation directly to the

 United States Court of Appeals for the Eleventh Circuit. Appeals may be made only

 from a final judgment entered by the District Judge.

        SO ORDERED this 18th day of August, 2014, at Augusta, Georgia.




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                                                        BRIAN K. E S
                                                        UNITED STATES MAGISTRATE JUDGE
                                                        SOUTHERN DISTRICT OF GEORGIA




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